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                                                   Objection Deadline: February 15, 2024


BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       THIRTY-EIGHTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
              DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 December 1, 2023 – December 31, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $36,425.00
 reasonable, and necessary:                      50% of which is $18,212.50
 Amount of Expense Reimbursement sought
                                                 $1,997.41
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)           $20,209.91

This is the thirty-eighth monthly fee statement.
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                               PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-eighth monthly statement (the “Monthly

Statement”) for the period from December 1, 2023 through December 31, 2023 (the “Statement

Period”) for payment of professional services rendered and reimbursement of expenses incurred

during the Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket

No. 129] (the “Interim Compensation Order”). Burns Bair requests interim allowance and

payment of compensation in the amount of $18,212.50 (50% of $36,425.00) for fees on account

of reasonable and necessary professional services rendered to the Committee by Burns Bair; and

(b) reimbursement of actual and necessary costs and expenses in the amount of $1,997.41.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.       Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                           Total
                                        Year of      Year of     Hourly                 Total
         Name               Title                                          Hours
                                      Partnership   Admission     Rate               Compensation
                                                                           Billed
Timothy Burns              Partner       2008         1991       $975.00   16.30       $15,892.50
Jesse Bair                 Partner       2020         2013       $625.00   31.70       $19,812.50
Brian Cawley              Associate      N/A          2020       $420.00    .60         $252.00
Brenda Horn-Edwards       Paralegal      N/A          N/A        $360.00    .60         $216.00
Karen Dempski             Paralegal      N/A          N/A        $360.00    .20          $72.00
Alyssa Turgeon            Paralegal      N/A          N/A        $360.00    .50         $180.00
                                                                TOTAL:     49.90       $36,425.00




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       2.      The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.

A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

              EXPENSES INCURRED DURING THE STATEMENT PERIOD

       3.      Set forth below is a categorical list of expenses incurred by Burns Bair during the

Statement Period in the course of representing the Committee.

 Date          Description                                                               Amount
 12/18/23      Hotel, J. Bair (1 night)                                                  $500.94
 12/18/23      Taxi, J. Bair                                                             $106.84
 12/18/23      Travel Meal, J. Bair                                                       $23.81
 12/18/23      Delta Airlines, J. Bair                                                  $1,127.80
 12/19/23      Travel meal, J. Bair                                                       $20.63
 12/19/23      Travel meal, J. Bair                                                       $14.51
 12/19/23      Airport parking, J. Bair                                                   $20.00
 12/19/23      Delta Airlines, Wi-Fi Onboard, J. Bair                                     $15.95
 12/19/23      Uber, J. Bair                                                             $166.93
                                                                           TOTAL:       $1,997.41

                             NOTICE AND OBJECTION PROCEDURES

       4.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.



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       5.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by February 15, 2024 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       6.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 50% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



Dated: January 31, 2024                          BURNS BAIR LLP

                                                  /s/ Jesse J. Bair                            .




                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 10 E. Doty St., Suite 600
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                                                 Email: tburns@burnsbair.com

                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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                              EXHIBIT A
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                                     10 E. Doty St., Suite 600
                                   Madison, Wisconsin 53703-3392
                                           608-286-2302
                                        www.BurnsBair.com


The Official Committee of Unsecured Creditors                           Issue Date :       1/25/2024
of The Roman Catholic Diocese of Rockville
Centre                                                                        Bill # :        01348



Matter: Insurance

                           PROFESSIONAL SERVICES RENDERED


Date       Timekeeper           Narrative                                          Hours    Amount
12/1/2023 Timothy Burns         Participate in weekly state court counsel          1.70    $1,657.50
                                meeting for insurance purposes re test case
                                and insurance demand letters (1.1); participate
                                in call with individual state court counsel re
                                same (.2); met with J. Bair re insurance
                                demands (.2); review revised discovery order
                                in LMI adversary proceeding (.1); review
                                correspondence with the Debtor and PSZJ re
                                CVA document issues (.1);
12/1/2023 Jesse Bair            Prepare for state court counsel meeting re test    1.50      $937.50
                                cases, insurance demand letters, and other
                                case issues (.2); participate in state court
                                counsel meeting for insurance purposes re
                                same (1.1); participate in conference with T.
                                Burns re insurance demand letters (.2);
12/1/2023 Jesse Bair            Participate in call with individual state court    0.20      $125.00
                                counsel and T. Burns re potential test cases
                                (.2);
12/1/2023 Jesse Bair            Review and respond to correspondence with          0.30      $187.50
                                various state court counsel re potential test
                                cases (.3);
12/2/2023 Jesse Bair            Review Order granting discovery extensions in      0.10       $62.50
                                the LMI district court action (.1);
12/3/2023 Jesse Bair            Review information re proposed PSIP                0.10       $62.50
                                settlement of non-abuse claim (.1);
12/4/2023 Timothy Burns         Legal research and analysis re third-party         3.20    $3,120.00
                                release issue (.8); preliminary review of
                                Debtor's disclosure statement (.6); participate
                                in portion of strategy meeting with PSZJ and J.
                                Bair re disclosure statement objections (1.0);
                                participate in calls with state court counsel re
                                test cases (.7); conference with J. Bair re same
                                (.1);
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12/4/2023 Jesse Bair         Review and respond to correspondence with           0.30    $187.50
                             various state court counsel re potential test
                             cases (.3);
12/4/2023 Jesse Bair         Brief review re the Debtor's disclosure             0.20    $125.00
                             statement (.2);
12/4/2023 Jesse Bair         Participate in conference with T. Burns re test     0.10     $62.50
                             case issues (.1);
12/4/2023 Jesse Bair         Participate in conference with state court          0.50    $312.50
                             counsel re test case and demand letter issues
                             (.5);
12/4/2023 Jesse Bair         Participate in portion of team strategy meeting     2.30   $1,437.50
                             with PSZJ re objections to the Debtor's
                             disclosure statement (2.3);
12/5/2023 Timothy Burns      Conference with J. Bair re test case issues         0.20    $195.00
                             and insurance demand letter status (.2);
12/5/2023 Jesse Bair         Review and edit Committee memorandum to             0.90    $562.50
                             the Debtor re issues with the Debtor's
                             disclosure statement (.8); correspondence with
                             PSZJ re same (.1);
12/5/2023 Jesse Bair         Participate in conference with T. Burns re          0.20    $125.00
                             insurance demand letter status and test case
                             issues (.2);
12/5/2023 Jesse Bair         Continue analyzing potential test cases (.6);       0.80    $500.00
                             correspondence with state court counsel re
                             same (.2);
12/6/2023 Jesse Bair         Review and respond to correspondence with           0.40    $250.00
                             various state court counsel re status and
                             finalization of insurance demand letters (.4);
12/6/2023 Jesse Bair         Review final version of insurance demand            0.20    $125.00
                             letters sent by certain state court counsel (.2);
12/6/2023 Jesse Bair         Analysis re status and next-steps for insurance     0.60    $375.00
                             demand letter and test case initiatives (.4);
                             draft email memorandum to PSZJ re same
                             (.2);
12/7/2023 Jesse Bair         Review K. Dine correspondence with the              0.10     $62.50
                             Debtor re proposed test cases (.1);
12/7/2023 Jesse Bair         Review and consider Debtor's letter re stay         0.20    $125.00
                             issues re certain Ecclesia claims and d/b/a/
                             school (.1); review correspondence with B.
                             Michael re same (.1);
12/7/2023 Timothy Burns      Review correspondence with J. Bair and PSZJ         0.40    $390.00
                             re test cases and insurance demand letters
                             (.2); review correspondence with J. Bair and
                             state court counsel re insurance demand
                             letters (.2);
12/8/2023 Jesse Bair         Participate in portion of state court counsel       1.20    $750.00
                             meeting for insurance purposes re test cases,
                             stay issues, and other case developments
                             (1.2);
12/8/2023 Jesse Bair         Review the Debtor's opposition to the               0.70    $437.50
                             Committee's test case motion (.7);
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12/8/2023 Timothy Burns       Participate in state court counsel meeting for     1.30   $1,267.50
                              insurance purposes re test cases, stay issues,
                              and other case developments (1.3);
12/9/2023 Timothy Burns       Review LMI's Limited Opposition to the             0.70    $682.50
                              Committee's Test Case Motion (.2); review
                              Debtor's Response to the Committee's Test
                              Case Motion (.4); review Moore Declaration re
                              same (.1);
12/9/2023 Jesse Bair          Review list of recently remanded state court       0.20    $125.00
                              actions in connection with potential test cases
                              (.2);
12/9/2023 Jesse Bair          Review amended discovery schedule in the           0.10     $62.50
                              Evanston district court action (.1);
12/9/2023 Jesse Bair          Review monthly Diocesan PSIP information           0.10     $62.50
                              (.1);
12/10/2023 Jesse Bair         Review final versions of additional insurance      0.10     $62.50
                              demand letters sent to the Diocese and
                              LMI/Interstate (.1);
12/10/2023 Jesse Bair         Review LMI's objection to the Committee's test     0.20    $125.00
                              case motion (.2);
12/11/2023 Timothy Burns      Review correspondence with BB and state            0.40    $390.00
                              court counsel re insurance demands (.1);
                              review . Nasatir correspondence re LMI's
                              objection to test case motion (.1); review
                              correspondence with J. Bair and PSZJ re
                              preliminary injunction re certain cases and
                              response to Debtor's counsel (.1); review J.
                              Bair's draft insert re response to LMI's
                              objection re test case motion (.1);
12/11/2023 Jesse Bair         Correspondence with state court counsel re         0.20    $125.00
                              LMI/Interstate demand letters (.2);
12/11/2023 Jesse Bair         Draft response to LMI's test case motion           0.80    $500.00
                              objection for insertion in the Committee's test
                              case reply brief (.8);
12/11/2023 Jesse Bair         Additional analysis re LMI/Interstate exposures    0.40    $250.00
                              and applicable coverage limits (.2); additional
                              correspondence with state court counsel re
                              same and demand letters (.2);
12/12/2023 Jesse Bair         Analyze and respond to I. Nasatir                  0.20    $125.00
                              correspondence re potential response to LMI's
                              test case objection (.2);
12/12/2023 Jesse Bair         Participate in Committee meeting for               1.40    $875.00
                              insurance purposes re case status, upcoming
                              hearings, and overall case strategy (1.3);
                              participate in call with T. Burns re Committee
                              meeting outcome (.1);
12/12/2023 Timothy Burns      Review correspondence with J. Bair and PSZJ        0.20    $195.00
                              re response to LMI Objection re Test Case
                              Motion (.1); participate in call with J. Bair re
                              Committee meeting outcome (.1);
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12/13/2023 Timothy Burns      Review article re Arrowood insolvency (.1);         0.70    $682.50
                              review correspondence with Debtor and PSZJ
                              re test case motion (.1); prepare for meeting
                              with state court counsel re case strategy (.2);
                              met with J. Bair re same (.1); met with state
                              court counsel re same (.2);
12/13/2023 Jesse Bair         Review the Diocese's response to the                0.10     $62.50
                              Committee re potential test cases (.1);
12/13/2023 Jesse Bair         Correspondence with state court counsel re          0.10     $62.50
                              potential test cases (.1);
12/13/2023 Jesse Bair         Correspondence with state court counsel re          0.10     $62.50
                              insurance demand letters (.1);
12/13/2023 Jesse Bair         Review article re Arrowood liquidation issues       0.10     $62.50
                              (.1);
12/13/2023 Jesse Bair         Participate in conference with T. Burns re next-    0.10     $62.50
                              steps re case insurance strategy (.1);
12/14/2023 Jesse Bair         Review and edit the Committee's test case           1.10    $687.50
                              reply brief, including incorporation of T. Burns'
                              edits to same (1.0); correspondence with
                              PSZJ re same (.1);
12/14/2023 Jesse Bair         Correspondence with state court counsel re          0.10     $62.50
                              insurance demand letter questions (.1);
12/14/2023 Jesse Bair         Review correspondence with the Debtor and           0.10     $62.50
                              Arrowood re status update letter to Judge
                              Rochon (.1);
12/14/2023 Jesse Bair         Analysis re potential additional test case (.1);    0.20    $125.00
                              correspondence with state court counsel re
                              potential test cases (.1);
12/14/2023 Timothy Burns      Review and revise the Committee's test case         0.60    $585.00
                              reply brief (.5); review and respond to
                              correspondence from state court counsel re
                              potential test case (.1);
12/15/2023 Karen Dempski      Finalize and file letter to court for T. Burns re   0.20     $72.00
                              insurance demand letter status (.2);
12/15/2023 Timothy Burns      Participate in weekly state court counsel           1.10   $1,072.50
                              meeting for insurance purposes re test case
                              issues (.9); conference with J. Bair re outcome
                              of meeting and insurance next-steps (.2);
12/15/2023 Jesse Bair         Prepare for state court counsel meeting (.2);       1.30    $812.50
                              participate in state court counsel meeting for
                              insurance purposes re case strategy and
                              upcoming test case hearing (.9); participate in
                              call with T. Burns re outcome of meeting and
                              insurance next-steps (.2);
12/15/2023 Jesse Bair         Draft letter to the Court re insurance demand       0.40    $250.00
                              letter update (.3); correspondence with PSZJ
                              re same (.1);
12/15/2023 Jesse Bair         Begin preparing for insurance aspects of            0.10     $62.50
                              upcoming test case hearing (.1);
12/16/2023 Jesse Bair         Review agenda for December 19 hearing (.1);         0.10     $62.50
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12/16/2023 Jesse Bair         Review final versions of additional insurance        0.60    $375.00
                              demand letters (.1); additional analysis re all
                              demand letters made on the insurers to date
                              (.1); correspondence with state court counsel
                              re same (.1); draft summary for J. Stang re
                              same (.2); additional correspondence with J.
                              Stang re same (.1);
12/16/2023 Timothy Burns      Review December 19 hearing agenda (.1);              0.10     $97.50
12/17/2023 Jesse Bair         Review additional correspondence from the            0.10     $62.50
                              Debtor re potential test cases (.1);
12/17/2023 Jesse Bair         Correspondence with BB team re test case             0.10     $62.50
                              motion hearing prep materials (.1);
12/18/2023 Jesse Bair         Review recent ADNY coverage decision                 0.30    $187.50
                              dismissing Chubb's coverage complaint for
                              impact on DRVC case (.3);
12/18/2023 Jesse Bair         Prepare for insurance aspects of upcoming            0.80    $500.00
                              hearing re the Committee's test case motion,
                              including review of New York bad faith case law
                              in connection with same (.6); conference with T.
                              Burns re preparations for upcoming test case
                              hearing (.2);
12/18/2023 Jesse Bair         Review draft order approving the                     0.10     $62.50
                              professionals' interim fee applications (.1);
12/18/2023 Jesse Bair         Review and respond to correspondence with            0.20    $125.00
                              state court counsel re upcoming test case
                              motion hearing (.2);
12/18/2023 Jesse Bair         Analyze and draft summary of key fact and            1.10    $687.50
                              insurance characteristics of proposed test
                              cases for J. Stang in connection with upcoming
                              hearing (1.0); correspondence with PSZJ re
                              same (.1);
12/18/2023 Alyssa Turgeon     Assist with identifying and preparing key            0.50    $180.00
                              insurance materials for test case hearing
                              preparations (.5);
12/18/2023 Timothy Burns      Participate in conference with J. Bair re            0.20    $195.00
                              preparations for upcoming test case hearing
                              (.2);
12/18/2023 Brian Cawley       Identify key insurance materials for test case       0.60    $252.00
                              hearing preparations (.6);
12/19/2023 Timothy Burns      Participate in conference with J. Bair re            0.40    $390.00
                              outcome of test case hearing and case next-
                              steps (.2); participate in additional call with J.
                              Bair re outcome of state court counsel meeting
                              re same (.2);
12/19/2023 Timothy Burns      Review memo re proposed test cases (.1);             0.10     $97.50
12/19/2023 Jesse Bair         Continue preparing for insurance aspects of          1.30    $812.50
                              upcoming test case hearing (1.3);
12/19/2023 Jesse Bair         Prepare for hearing on professionals' interim        0.40    $250.00
                              fee applications (.4);
12/19/2023 Jesse Bair         Participate in test case hearing for insurance       2.40   $1,500.00
                              purposes (2.4);
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12/19/2023 Jesse Bair          Participate in conference with PSZJ team re          0.30    $187.50
                               outcome of test case hearing and next-steps
                               (.3);
12/19/2023 Jesse Bair          Participate in conference with T. Burns re           0.20    $125.00
                               outcome of test case hearing and case next-
                               steps (.2);
12/19/2023 Jesse Bair          Participate in state court counsel meeting for       0.90    $562.50
                               insurance purposes re test case hearing
                               outcome, next-steps, and overall case strategy
                               (.7); participate in conference with T. Burns re
                               outcome of state court counsel meeting (.2);
12/19/2023 Jesse Bair          Review B. Michael correspondence re case             0.10     $62.50
                               developments and upcoming Committee
                               meeting (.1);
12/20/2023 Jesse Bair          Participate in conference with T. Burns re test      0.40    $250.00
                               case hearing outcome and going-forward
                               insurance strategy (.2); participate in portion of
                               call with T. Burns and J. Stang re same (.2);
12/20/2023 Timothy Burns       Participate in conference with J. Bair re test       0.50    $487.50
                               case hearing outcome and going-forward
                               insurance strategy (.2); participate in call with
                               J. Bair and J. Stang re same (.3);
12/21/2023 Brenda Horn-Edwards Draft BB monthly fee statement (.4); generate        0.60    $216.00
                               and edit Exhibit A to same (.1); correspond
                               with J. Bair re same (.1);
12/21/2023 Jesse Bair          Review draft status update letter to the Court in    0.90    $562.50
                               the Arrowood action (.1); consideration of the
                               Receiver's request to resume the Arrowood
                               coverage action (.1); conference with T. Burns
                               re same and the Committee's position re the
                               resumption of the Arrowood coverage action
                               (.1); review and respond to correspondence
                               with PSZJ re same (.2); review the Diocese's
                               proposed insert to the letter (.1); draft the
                               Committee's position for the letter (.1); review
                               additional revisions received from Arrowood
                               (.1); review additional correspondence with
                               Arrowood and the Diocese re same (.1);
12/21/2023 Jesse Bair          Participate in Committee meeting for                 1.20    $750.00
                               insurance purposes re outcome of test case
                               hearing and next-steps re case strategy (1.2);
12/21/2023 Jesse Bair          Participate in call with T. Burns re outcome of      0.20    $125.00
                               Committee meeting and updates re potential
                               settlement developments (.2);
12/21/2023 Jesse Bair          Analysis re insurance aspects of potential           0.40    $250.00
                               alternative Plan and settlement options (.4);
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12/21/2023 Timothy Burns      Participate in calls with state court counsel re        1.80     $1,755.00
                              insurance implications of potential resolution
                              with Diocese (1.5); conference with J. Bair re
                              the Committee's position re the resumption of
                              the Arrowood coverage action (.1); participate
                              in additional conference with J. Bair re
                              outcome of Committee meeting and updates
                              re potential settlement developments (.2);
12/22/2023 Jesse Bair         Correspondence with K. Dine re February                 0.10       $62.50
                              omnibus hearing (.1);
12/22/2023 Jesse Bair         Review recent remand order of certain state             0.40      $250.00
                              court actions for potential impact on Arrowood
                              stay (.1); review case law in connection with
                              same (.1); review and respond to
                              correspondence with PSZJ re same (.2);
12/23/2023 Timothy Burns      Brief review of Diocese's proposed TDP (.2);            0.20      $195.00
12/26/2023 Jesse Bair         Review the Court's memo endorsement re                  0.10       $62.50
                              Arrowood meet and confer in connection with
                              adversary status letter (.1);
12/27/2023 Jesse Bair         Review debtor correspondence re Arrowood                0.10       $62.50
                              meet and confer (.1);
12/27/2023 Jesse Bair         Correspondence with J. Stang and K. Dine re             0.10       $62.50
                              continued stay of certain Ecclesia actions (.1);
12/28/2023 Jesse Bair         Review K. Dine correspondence re the                    0.20      $125.00
                              Committee's disclosure statement objection
                              and new test case motion (.1); review I. Nasatir
                              correspondence re insurance issues re the
                              Debtor's disclosure statement (.1);
12/29/2023 Jesse Bair         Review notice of omnibus hearing (.1);                  0.10        $62.50
12/29/2023 Timothy Burns      Participate in weekly state court counsel               2.50     $2,437.50
                              meeting for insurance purposes (1.6);
                              participate in post-meeting call with PSZJ re
                              test case letter (.5); participate in call with state
                              court counsel re same (.2) follow-up email to
                              PSZJ re same (.1); review test case letter (.1);
12/31/2023 Jesse Bair         Review stipulation re continued stay of certain         0.10       $62.50
                              Ecclesia state court actions (.1);
Total Hours and Fees                                                                  49.90   $36,425.00

                                         EXPENSES


Date                          Description                                                       Amount
12/18/2023                    Hotel, J. Bair (1 night)                                          $500.94
12/18/2023                    Travel meal, J. Bair                                                $23.81
12/18/2023                    Taxi, J. Bair (airport to hotel)                                  $106.84
12/18/2023                    Delta Airlines, J. Bair (MSN-LGA Dec. 17-18)                     $1,127.80
12/19/2023                    Travel meal, J. Bair                                                $20.63
12/19/2023                    Travel meal, J. Bair                                                $14.51
12/19/2023                    Airport parking, J. Bair                                            $20.00
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12/19/2023                   Delta Airlines WiFi Onboard, J. Bair                      $15.95
12/19/2023                   Uber, J. Bair (hotel to airport)                         $166.93
Total Expenses                                                                       $1,997.41


                                 Timekeeper Summary
Name                           Title                  Hours           Rate            Amount
Alyssa Turgeon                 Paralegal                0.50        $360.00           $180.00
Brenda Horn-Edwards            Paralegal                0.60        $360.00           $216.00
Brian Cawley                   Associate                0.60        $420.00           $252.00
Jesse Bair                     Partner                 31.70        $625.00         $19,812.50
Karen Dempski                  Paralegal                0.20        $360.00            $72.00
Timothy Burns                  Partner                 16.30        $975.00         $15,892.50



                                                           Total Due This Invoice: $38,422.41
